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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


SANDRA GARZA, as                                     )
the personal representative                          )
of THE ESTATE OF BRIAN SICKNICK                      )
                                                     )
                 Plaintiff,                          )
                                                     )
       v.                                            )
                                                     )
DONALD J. TRUMP, et al.,                             )    Case No. 1:23-cv-00038 (APM)
                                                     )
                 Defendants.                         )
                                                     )


                              AMENDMENT TO PRIOR FILING (ECF 25)


       Undersigned Counsel submits this Amendment to Plaintiff’s prior filing, ECF 25, attaching

the proposed order which was not including in the filing earlier this day.

April 25, 2023                                               Respectfully Submitted,

                                                              s/Matthew Kaiser
                                                     _____________________________
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                                 CERTIFICATE OF SERVICE
       I certify that on April 25, 2023, a copy of the foregoing was filed with the Clerk of the
Court using the Court’s CM/ECF system, which will send a copy to all counsel of record.

                                                             /s/ Noah Brozinsky
                                                             Noah Brozinsky
                                                             Attorney for Plaintiff


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